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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTIAN DIOR COUTURE, S.A.,
                                                    Case No. 20-cv-02421
              Plaintiff,
v.                                                  Judge Robert W. Gettleman

CHINABRANDMALL.COM, et al.,                         Magistrate Judge Susan E. Cox

              Defendants.


    MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR
 ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
    INJUNCTION, A TEMPORARY TRANSFER OF THE DOMAIN NAMES, A
      TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY

       Plaintiff Christian Dior Couture, S.A. (“Plaintiff” or “Dior”) submits this Memorandum

in support of its Ex Parte Motion for Entry of a Temporary Restraining Order (“TRO”),

including a temporary injunction, a temporary transfer of the Domain Names, a temporary asset

restraint, and expedited discovery (the “Ex Parte Motion”).




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                                  MEMORANDUM OF LAW

I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiff Christian Dior Couture, S.A. (“Plaintiff” or “Dior”) is requesting temporary ex

parte relief based on an action for trademark infringement, counterfeiting, false designation of

origin, and copyright infringement against the defendants identified on Schedule “A” to the

Amended Complaint (collectively, the “Defendants”).            As alleged in Dior’s Amended

Complaint, Defendants are promoting, advertising, marketing, distributing, offering for sale, and

selling products, including clothing and fashion accessories, using infringing and counterfeit

versions of Dior’s federally registered trademarks, unauthorized copies of Dior’s federally

registered copyrighted designs, or both (collectively, the “Unauthorized Dior Products”), through

at least the fully interactive, e-commerce stores1 operating under the seller aliases identified in

Schedule A to the Amended Complaint (collectively, the “Seller Aliases”).

       Defendants run a sophisticated counterfeiting operation, and have targeted sales to

Illinois residents by setting up and operating e-commerce stores using one or more Seller Aliases

through which Illinois residents can purchase Unauthorized Dior Products. The e-commerce

stores operating under the Seller Aliases share unique identifiers establishing a logical

relationship between them. Further, Defendants attempt to avoid and mitigate liability by

operating under one or more Seller Aliases to conceal both their identities and the full scope and

interworking of their operation. Dior is forced to file these actions to combat Defendants’

counterfeiting of its registered trademarks and infringement of its registered copyrights, as well

as to protect unknowing consumers from purchasing Unauthorized Dior Products over the




1
 The e-commerce store urls are listed on Schedule A to the Amended Complaint under the Online
Marketplaces and Domain Names.
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Internet. Defendants’ ongoing unlawful activities should be restrained, and Dior respectfully

requests that this Court issue ex parte a Temporary Restraining Order.

II.     STATEMENT OF FACTS

        A. Dior’s Trademarks, Copyrights and Products

        Dior is a world-famous couturier engaged in the manufacture, sale and distribution of

prestigious, high-quality, luxury merchandise, including a wide variety of clothing and fashion

accessories, eyewear, leather goods, jewelry, watches, and other similar items sold throughout

the United States (collectively, the “Dior Products”), all of which prominently display its

famous, internationally-recognized and federally-registered trademarks, including CHRISTIAN


DIOR, DIOR, CD, and             (the “Cannage Design”). Declaration of Nicolas Lambert, (the

“Lambert Declaration”) at ¶ 3. Dior uses its trademarks in connection with the marketing of its

Dior Products, which are collectively referred to as the “CHRISTIAN DIOR Trademarks.” Id.

True and correct copies of the United States registration certificates for the CHRISTIAN DIOR

Trademarks are attached to the Lambert Declaration as Exhibit 1. The registrations for the

CHRISTIAN DIOR Trademarks are valid, subsisting, in full force and effect, and many are

incontestable pursuant to 15 U.S.C. § 1065. Id. at ¶ 6. The registrations for the CHRISTIAN

DIOR Trademarks constitute prima facie evidence of their validity and of Dior’s exclusive right

to use the CHRISTIAN DIOR Trademarks pursuant to 15 U.S.C. § 1057(b).

        Dior Products have long been among the most famous and popular of their kind in the

world and have been extensively promoted and advertised at great expense. Id at ¶ 7. Dior has

expended millions of dollars annually in advertising, promoting and marketing featuring the

CHRISTIAN DIOR Trademarks. Id. Dior Products have also been the subject of extensive

unsolicited publicity resulting from their high quality and popularity among high profile

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celebrities who don Dior Products at red carpet events. Id. The CHRISTIAN DIOR Trademarks

are distinctive when applied to the Dior Products, signifying to the purchaser that the products

come from Dior and are manufactured to Dior’s quality standards. Id. at ¶ 8. The CHRISTIAN

DIOR Trademarks have achieved tremendous fame and recognition, which has only added to the

distinctiveness of the marks. Id. As such, the goodwill associated with the CHRISTIAN DIOR

Trademarks is of incalculable and inestimable value to Dior. Id.

       Dior has also registered many of its designs with the United States Copyright Office (the

“Dior Copyrighted Designs”). Id. at ¶ 10. The registrations include, but are not limited to, the

registrations listed in paragraph 10 to the Declaration of Nicolas Lambert. Id. at ¶ 10. True and

correct copies of the U.S. federal copyright registration certificates for the Dior Copyrighted

Designs are attached to the Lambert Declaration as Exhibit 4. Among the exclusive rights

granted to Dior under the U.S. Copyright Act are the exclusive rights to reproduce, prepare

derivative works of, distribute copies of, and display the Dior Copyrighted Design to the public.

       B. Defendants’ Unlawful Activities

       The success of the Dior brand has resulted in its significant counterfeiting. Lambert

Declaration at ¶ 12. Consequently, Dior has a worldwide anti-counterfeiting program and

regularly investigates suspicious e-commerce stores identified in proactive Internet sweeps and

reported by consumers. Id. In recent years, Dior has identified numerous fully interactive e-

commerce stores, including those operating under the Seller Aliases, which were offering for

sale and/or selling Unauthorized Dior Products to consumers in this Judicial District and

throughout the United States. Id. Dior’s well-pleaded allegations regarding registration patterns,

similarities among the e-commerce stores operating under the Seller Aliases and the

Unauthorized Dior Products for sale thereon, and common tactics employed to evade

enforcement efforts establish a logical relationship among the Defendants and that Defendants
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are an interrelated group of counterfeiters. Id. at ¶ 19. If Defendants provide additional credible

information regarding their identities, Dior will take appropriate steps to amend the Amended

Complaint.

III.     ARGUMENT

         Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Dior’s reputation and the goodwill symbolized by the CHRISTIAN

DIOR Trademarks and the Dior Copyrighted Designs. Rule 65(b) of the Federal Rules of Civil

Procedure provides that the Court may issue an ex parte TRO where immediate and irreparable

injury, loss, or damage will result to the applicant before the adverse party or that party's attorney

can be heard in opposition. Fed. R. Civ. P. 65(b). The entry of a TRO is appropriate because it

would immediately stop the Defendants from benefiting from their wrongful use of the

CHRISTIAN DIOR Trademarks and the Dior Copyrighted Designs and preserve the status quo

until a hearing can be held.

         In the absence of a TRO without notice, the Defendants can and likely will register new

e-commerce stores under new aliases and move any assets to off-shore bank accounts outside the

jurisdiction of this Court. See Declaration of Justin R. Gaudio (“Gaudio Declaration”) at ¶¶ 5-7.

Courts have recognized that civil actions against counterfeiters present special challenges that

justify proceeding on an ex parte basis. See Columbia Pictures Indus., Inc. v. Jasso, 927 F.

Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against those who deliberately

traffic in infringing merchandise are often useless if notice is given to the infringers”). As such,

Dior respectfully requests that this Court issue the requested ex parte TRO.

         This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17 U.S.C. §


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501, et seq., 28 U.S.C. §§ 1338(a)-(b), and 28 U.S.C. § 1331. Venue is proper pursuant to 28

U.S.C. § 1391.

       This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois,

through at least the fully interactive, e-commerce stores operating under the Seller Aliases.

Specifically, Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases through

which Illinois residents can purchase Unauthorized Dior Products. See Amended Complaint at

¶¶ 2, 19, 27, and 28. See, e.g., Christian Dior Couture, S.A. v. Lei Liu et al., 2015 U.S. Dist.

LEXIS 158225, at *6 (N.D. Ill. Nov. 17, 2015) (personal jurisdiction proper over defendants

offering to sell alleged infringing product to United States residents, including Illinois; no actual

sale required). Each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Dior substantial injury in the State of Illinois.

       A. Standard for Temporary Restraining Order and Preliminary Injunction

       District Courts within this Circuit hold that the standard for granting a TRO and the

standard for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust

v. Charter One Fin., Inc., No. 2001 WL 527404, at *1 (N.D. Ill. May 15, 2001) (citation

omitted). A party seeking to obtain a preliminary injunction must demonstrate: (1) that its case

has some likelihood of success on the merits; (2) that no adequate remedy at law exists; and (3)

that it will suffer irreparable harm if the injunction is not granted. See Ty, Inc. v. The Jones

Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

       If the Court is satisfied that these three conditions have been met, then it must consider

the harm that the nonmoving party will suffer if preliminary relief is granted, balancing such

harm against the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the
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Court must consider the potential effect on the public interest (non-parties) in denying or

granting the injunction. Id. The Court then weighs all of these factors, “sitting as would a

chancellor in equity,” when it decides whether to grant the injunction. Id. (quoting Abbott Labs.

v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)). This process involves engaging in what

the Court has deemed “the sliding scale approach” – the more likely the plaintiff will succeed on

the merits, the less the balance of harms need favor the plaintiff's position. Id.

       B. Dior Will Likely Succeed on the Merits

               i.      Dior Will Likely Succeed on Its Trademark Infringement and
                       Counterfeiting, and False Designation of Origin Claims.

       A defendant is liable for trademark infringement and counterfeiting under the Lanham

Act if it, “without the consent of the registrant, use[s] in commerce, any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale,

distribution, or advertising of any goods … which such use is likely to cause confusion, or to

cause mistake, or to deceive.” 15 U.S.C. § 1114(1). Dior’s Lanham Act claims involve the same

elements. See Packaging Supplies, Inc. v. Harley-Davidson, Inc., No. 08 C 400, 2011 WL

1811446, at *5 (N.D. Ill. May 12, 2011). A Lanham Act trademark infringement claim has two

elements. See 15 U.S.C. § 1125(a). First, a plaintiff must show “that its mark is protected

under the Lanham Act.” Barbecue Marx, Inc. v. 551 Ogden, Inc., 235 F.3d 1041, 1043 (7th

Cir. 2000). Second, plaintiff must show that the challenged mark is likely to cause confusion

among consumers. Id.

       In this case, Dior’s CHRISTIAN DIOR Trademarks are distinctive and are registered

with the United States Patent and Trademark Office. Lambert Declaration at ¶¶ 5-6. The

registrations for the CHRISTIAN DIOR Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. Id. The registrations for the

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CHRISTIAN DIOR Trademarks constitute prima facie evidence of their validity and of Dior’s

exclusive right to use the CHRISTIAN DIOR Trademarks pursuant to 15 U.S.C. § 1057(b).

Furthermore, Dior has not licensed or authorized Defendants to use any of the CHRISTIAN

DIOR Trademarks, and none of the Defendants are authorized retailers of genuine Dior Products.

Id. at ¶ 15. Thus, Dior satisfies the first element of its Lanham Act claim.

       The Seventh Circuit has held that where “one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another’s product, there is a

presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479

(7th Cir. 2007). Accordingly, the Court can presume a likelihood of confusion from Defendant’s

use of the CHRISTIAN DIOR Trademarks. The result is the same when considered in light of

the Seventh Circuit’s seven enumerated factors to determine whether there is a likelihood of

confusion, which include: (1) similarity between the marks in appearance and suggestion; (2)

similarity of the products; (3) area and manner of concurrent use; (4) degree of care likely to be

exercised by consumers; (5) strength of complainant's mark; (6) actual confusion; and, (7) intent

of the defendants to palm off their products as that of another. AutoZone, Inc. v. Strick, 543

F.3d 923, 929 (7th Cir. 2008). No one factor is dispositive, but the similarity of the marks,

actual confusion, and the defendant’s intent are “particularly important.” Id.

       Dior has submitted extensive documentation showing that Defendants are selling

Unauthorized Dior Products that look similar to genuine Dior Products and use infringing and

counterfeit marks identical to the CHRISTIAN DIOR Trademarks. Both Dior and Defendants

advertise and sell their products to consumers via the Internet, targeting consumers looking for

genuine Dior Products. Lambert Declaration at ¶¶ 9 and 13. Those consumers are diverse with

varying degrees of sophistication, and they are likely to have difficulty distinguishing genuine


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Dior Products from Unauthorized Dior Products.         Indeed, it appears that Defendants are

intentionally trying to induce consumers looking for genuine Dior Products to purchase

Unauthorized Dior Products instead. In that regard, Defendants advertise Unauthorized Dior

Products using the DIOR Trademarks. Lambert Declaration at ¶¶ 13 and 16. Evidence of actual

consumer confusion is not required to prove that a likelihood of confusion exists, particularly

given the compelling evidence that Defendants are attempting to “palm off” their goods as

genuine Dior products. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660, 685 (7th Cir. 2001).

Accordingly, Dior is likely to establish a prima facie case of trademark infringement,

counterfeiting, and false designation of origin.

               ii.     Dior Is Likely to Succeed on Its Copyright Infringement Claim

       The United States Copyright Act provides that “[a]nyone who violates any of the

exclusive rights of the copyright owner … is an infringer of the copyright.” 17 U.S.C. § 501.

Among these exclusive rights granted to Dior under the Copyright Act are the exclusive rights to

reproduce, prepare derivative works of, distribute copies of, and display the Dior Copyrighted

Designs to the public. 17 U.S.C. § 106.

       To establish a claim for copyright infringement, a plaintiff must show: “(1) ownership of

a valid copyright, and (2) copying of constituent elements of the work that are original.” JCW

Invs., Inc. v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir. 2007) (internal citations omitted).

Copying can be shown through direct evidence, or it can be inferred where a defendant had

access to the copyrighted work and the accused work is substantially similar. Spinmaster, Ltd. v.

Overbreak LLC, 404 F. Supp. 2d 1097, 1102 (N.D. Ill. 2005). To determine whether there is a

substantial similarity that indicates infringement, Courts use the “ordinary observer” test which

asks whether “an ordinary reasonable person would conclude that the defendant unlawfully


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appropriated protectable expression by taking material of substance and value.” Id. A work may

be deemed infringing if it captures the “total concept and feel of the copyrighted work.” Id.

       With respect to the first element, Dior is the owner of several relevant federally registered

copyrights. As to the second element, Defendants are willfully and deliberately reproducing the

Dior Copyrighted Designs in their entirety, and are willfully and deliberately distributing copies

of the Dior Copyrighted Designs to the public by sale. Defendants’ unauthorized copies are

identical or substantially similar to the Dior Copyrighted Designs.         Such blatant copying

infringes upon Dior’s exclusive rights under 17 U.S.C. §§ 106. As such, Dior has proved it has a

reasonable likelihood of success on the merits for its copyright infringement claim.

       C. There Is No Adequate Remedy at Law, and Dior Will Suffer Irreparable Harm
          in the Absence of Preliminary Relief

       The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly &

Co. v. Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir.2000)). Likewise, an injury to a

copyright holder that is “not easily measurable in monetary terms, such as injury to reputation or

goodwill, is often viewed as irreparable.” EnVerve, Inc. v. Unger Meat Co., 779 F. Supp. 2d

840, 844 (N.D. Ill. 2011). Irreparable injury “almost inevitably follows” when there is a high

probability of confusion because such injury “may not be fully compensable in damages.”

Helene Curtis Industries, Inc. v. Church & Dwight Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977)

(citation omitted).   “The most corrosive and irreparable harm attributable to trademark

infringement is the inability of the victim to control the nature and quality of the defendants’

goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1092 (7th Cir.



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1988). As such, monetary damages are likely to be inadequate compensation for such harm.

Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th Cir. 1979).

        Defendants’ unauthorized use of the CHRISTIAN DIOR Trademarks has and continues

to irreparably harm Dior through diminished goodwill and brand confidence, damage to Dior’s

reputation, loss of exclusivity, and loss of future sales. Lambert Declaration at ¶¶ 23-27. The

extent of the harm to Dior’s reputation and goodwill and the possible diversion of customers due

to loss in brand confidence are both irreparable and incalculable, thus warranting an immediate

halt to Defendants’ infringing activities through injunctive relief. See Promatek Industries, Ltd.

v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (finding that damage to plaintiff’s goodwill

was irreparable harm for which plaintiff had no adequate remedy at law). Dior will suffer

immediate and irreparable injury, loss, or damage if an ex parte Temporary Restraining Order is

not issued in accordance with Federal Rule of Civil Procedure 65(b)(1). Lambert Declaration at

¶ 28.

        D. The Balancing of Harms Tips in Dior’s Favor, and the Public Interest Is Served
           by Entry of the Injunction

        As noted above, if the Court is satisfied that Dior has demonstrated (1) a likelihood of

success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable harm if

preliminary relief is not granted, then it must next consider the harm that Defendants will suffer

if preliminary relief is granted, balancing such harm against the irreparable harm that Dior will

suffer if relief is denied. Ty, Inc., 237 F.3d at 895. As willful infringers, Defendants are entitled

to little equitable consideration. “When considering the balance of hardships between the parties

in infringement cases, courts generally favor the trademark owner.” Krause Int’l Inc. v. Reed

Elsevier, Inc., 866 F. Supp. 585, 587-88 (D.D.C. 1994). This is because “[o]ne who adopts the

mark of another for similar goods acts at his own peril since he has no claim to the profits or

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advantages thereby derived.” Burger King Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla.

1992) (internal quotation marks omitted). Therefore, the balance of harms “cannot favor a

defendant whose injury results from the knowing infringement of the plaintiff's trademark.”

Malarkey-Taylor Assocs., Inc. v. Cellular Telecomms. Indus. Ass’n, 929 F. Supp. 473, 478

(D.D.C. 1996).

       As Dior has demonstrated, Defendants have been profiting from the sale of Unauthorized

Dior Products. Thus, the balance of equities tips decisively in Dior’s favor. The public is

currently under the false impression that Defendants are operating their e-commerce stores with

Dior’s approval and endorsement.     In this case, the injury to the public is significant, and the

injunctive relief that Dior seeks is specifically intended to remedy that injury by dispelling the

public confusion created by Defendants’ actions. As such, equity requires that Defendants be

ordered to cease their unlawful conduct.

IV.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       The Lanham Act authorizes courts to issue injunctive relief “according to the principles

of equity and upon such terms as the court may deem reasonable, to prevent the violation of any

right of the registrant of a mark ….” 15 U.S.C. § 1116(a).

       A. An Order Immediately Enjoining Defendants’ Unauthorized and Unlawful Use
          of the CHRISTIAN DIOR Trademarks and Dior Copyrighted Designs Is
          Appropriate

       Dior requests a temporary injunction requiring the Defendants to immediately cease all

use of the CHRISTIAN DIOR Trademarks, or substantially similar marks and/or copying and

distribution of the Dior Copyrighted Designs, on or in connection with all e-commerce stores

operating under the Seller Aliases. Such relief is necessary to stop the ongoing harm to the

CHRISTIAN DIOR Trademarks and associated goodwill, as well as harm to consumers, and to

prevent the Defendants from continuing to benefit from their unauthorized use of the
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CHRISTIAN DIOR Trademarks and/or copying and distribution of the Dior Copyrighted

Designs.   The need for ex parte relief is magnified in today’s global economy where

counterfeiters can operate anonymously over the Internet. Dior is currently unaware of both the

true identities and locations of the Defendants, as well as other e-commerce stores used to

distribute Unauthorized Dior Products. Many courts have authorized immediate injunctive relief

in similar cases involving the unauthorized use of trademarks and counterfeiting. See, e.g.,

Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. Apr. 4,

2015) (unpublished) (order granting ex parte Motion for Temporary Restraining Order).

       B. Transferring the Defendant Domain Names to Dior’s Control Is Appropriate

       As part of the TRO, Dior also seeks temporary transfer of the Domain Names to Dior’s

control in order to disable the counterfeit websites and electronically publish notice of this case

to Defendants. Defendants involved in domain name litigation easily can, and often will, change

the ownership of a domain name or continue operating the website while the case is pending.

Accordingly, to preserve the status quo and ensure the possibility of eventual effective relief,

courts in trademark cases involving domain names regularly grant the relief requested herein.

See, e.g., Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill.

April 4, 2015) (unpublished). As such, Dior respectfully requests that, as part of the TRO, the

Court require the relevant registries and/or registrars for the Domain Names to transfer the

Domain Names to Dior.

       C. Preventing the Fraudulent Transfer of Assets Is Appropriate

       Dior requests an ex parte restraint of Defendants’ assets so that Dior’s right to an

equitable accounting of Defendants’ profits from sales of Unauthorized Dior Products is not




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impaired.2 Issuing an ex parte restraint will ensure Defendants’ compliance. If such a restraint

is not granted in this case, Defendants may disregard their responsibilities and fraudulently

transfer financial assets to overseas accounts before a restraint is ordered. Specifically, on

information and belief, the Defendants in this case hold most of their assets in off-shore

accounts, making it easy to hide or dispose of assets, which will render an accounting by Dior

meaningless.

          Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007). In addition, Dior has shown a strong likelihood of succeeding on the merits

of its trademark infringement and counterfeiting claim, so according to the Lanham Act 15

U.S.C. § 1117(a)(1), Dior is entitled, “subject to the principles of equity, to recover ...

defendant’s profits.” Similarly, Dior has shown a strong likelihood of succeeding on the merits

of its copyright infringement claim, and therefore Dior is entitled to recover “…any profits of the

infringer that are attributable to the infringement.” 17 U.S.C. § 504(b). Dior’s Amended

Complaint seeks, among other relief, that Defendants account for and pay to Dior all profits

realized by Defendants by reason of Defendants’ unlawful acts. Therefore, this Court has the

inherent equitable authority to grant Dior’s request for a prejudgment asset freeze to preserve

relief sought by Dior.

          The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale

Candies entered an asset restraining order in a trademark infringement case brought by a tobacco

company against owners of a store selling counterfeit cigarettes. Lorillard Tobacco Co. v.

Montrose Wholesale Candies, 2005 WL 3115892, at *13 (N.D. Ill. Nov. 8, 2005). The Court

recognized that it was explicitly allowed to issue a restraint on assets for lawsuits seeking
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    Dior has filed a Motion for Leave to File Under Seal certain documents for this same reason.
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equitable relief. Id. (citing Grupo Mexicano de Desarollo, S.A. v. Aliance Bond Fund, 527 U.S.

308, 325 (1999)). Because the tobacco company sought a disgorgement of the storeowner’s

profits, an equitable remedy, the Court found that it had the authority to freeze the storeowner’s

assets. Id.

       Dior has shown a likelihood of success on the merits, an immediate and irreparable harm

suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen,

Defendants will likely hide or move their ill-gotten funds to off-shore bank accounts.

Accordingly, an asset restraint is proper.

       D. Dior Is Entitled to Expedited Discovery

       The United States Supreme Court has held that “federal courts have the power to order, at

their discretion, the discovery of facts necessary to ascertain their competency to entertain the

merits.” Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, at *6 (N.D. Ill. Dec. 21,

2007) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380 (1978)).

Courts have wide latitude in determining whether to grant a party's request for discovery. Id.

(citation omitted). Further, courts have broad power over discovery and may permit discovery in

order to aid in the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2).

       Dior respectfully requests expedited discovery to discover bank and payment system

accounts Defendants use for their counterfeit sales operations.        The expedited discovery

requested in Dior’s Proposed TRO is limited to include only what is essential to prevent further

irreparable harm. Discovery of these financial accounts so that they can be frozen is necessary to

ensure that these activities will be contained. See, e.g., Deckers Outdoor Corporation v. The

Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished). Dior’s seizure and

asset restraint may have little meaningful effect without the requested relief. Accordingly, Dior

respectfully requests that expedited discovery be granted.
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V.      A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d

787, 789 (8th Cir. 1989). Because of the strong and unequivocal nature of Dior’s evidence of

counterfeiting, trademark infringement, and copyright infringement, Dior respectfully requests

that this Court require Dior to post a bond of no more than ten thousand U.S. dollars

($10,000.00). See, e.g., Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-

3249 (N.D. Ill. April 4, 2015) (unpublished) ($10,000 bond).

VI.     CONCLUSION

        Defendants’ unlawful operations are irreparably harming Dior’s business, its famous Dior

brand, and consumers. Without entry of the requested relief, Defendants’ sale of Unauthorized

Dior Products will continue to lead prospective purchasers and others to believe that Defendants’

Unauthorized Dior Products have been manufactured by or emanate from Dior, when in fact,

they have not. Therefore, entry of an ex parte order is necessary. In view of the foregoing and

consistent with previous similar cases, Dior respectfully requests that this Court enter a

Temporary Restraining Order in the form submitted herewith.




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Dated this 23rd day of April 2020.    Respectfully submitted,


                                      /s/ Justin R. Gaudio_______________
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Allyson M. Martin
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080
                                      312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      amartin@gbc.law

                                      Counsel for Plaintiff Christian Dior Couture, S.A.




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